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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

JEAN LUBIN,

     Plaintiff,

v.                                                  CASE NO.: 8:16-cv-000271-SCB-JSS

NAVIENT SOLUTIONS, INC.,

     Defendant.
                                       /

                                      NOTICE OF SETTLEMENT

         Plaintiff, Jean Lubin, and Defendant, Navient Solutions, Inc., (hereinafter and

collectively the “Parties”), by and through the undersigned counsel, hereby notify the Court the

Parties have reached settlement of this matter and are presently coordinating the execution and

formalization of such agreement. The Parties will file dismissal of this action with prejudice

upon the execution and completion of certain terms of the settlement agreement.

         Respectfully submitted this 31st day of January, 2017.

                                                        /s/ Jared M. Lee
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                                                       Counsel for Plaintiff(s)/Claimant(s)


                                      Certificate of Service

         I certify that on this 31st day of January, 2017 I served a copy of the foregoing document



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on the following parties, or their counsel of record, via Electronic Mail:

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Counsel for Defendant(s)/Respondent(s)

                                                       /s/ Jared M. Lee
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